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15                             UNITED STATES DISTRICT COURT

16                                      DISTRICT OF NEVADA
      ANGELA WILLIAMS; JANE DOE                        Case No. 2:21-cv-01676
17
      #1; JANE DOE #2,
18                                               ORDER APPROVING PLAINTIFFS'
                 Plaintiffs,                     MOTION FOR AN EXTENSION OF
19                                              TIME TO FILE AN OPPOSITION TO
      v.                                          DEFENDANT CLARK COUNTY
20
                                                      MOTION TO STRIKE
      STEVE SISOLAK, Governor of
21
      Nevada, in his official capacity;          Judge: Honorable Andrew P. Gordon
22    AARON FORD, Attorney General of
      Nevada, in his official capacity; THE
23    CITY OF LAS VEGAS; CLARK
      COUNTY; NYE COUNTY;
24
      WESTERN BEST, INC. D/B/A
25    CHICKEN RANCH; WESTERN
      BEST LLC; JAMAL RASHID;
26    MALLY MALL MUSIC, LLC;
27
      FUTURE MUSIC, LLC; PF
      SOCIAL MEDIA MANAGEMENT,
28    LLC; E.P. SANCTUARY; BLU
          Case 2:21-cv-01676-APG-VCF Document 70 Filed 11/24/21 Page 2 of 2



1     MAGIC MUSIC, LLC;
      EXCLUSIVE BEAUTY LOUNGE
2     LLC; FIRST INVESTMENT
      PROPERTY LLC; V.I.P.
3
      ENTERTAINMENT, LLC; MP3
4     PRODUCTIONS, INC.; MMM
      PRODUCTIONS, INC.; SHAC, LLC
5     D/B/A SAPPHIRE GENTLEMAN’S
      CLUB AND/OR SAPPHIRE; SHAC
6
      MT, LLC; and LAS VEGAS
7     BISTRO, LLC D/B/A LARRY
      FLYNT’S HUSTLER CLUB;
8

9
       Defendants.
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             Having reviewed and considered Plaintiffs' Motion for an Extension of Time to File an
11
      Opposition to Defendants Motion to Strike (“Motion”) and all the papers filed in support of
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13    and in opposition to the Motion, and all other pleadings and papers on file herein, and

14    good cause appearing, the Court hereby APPROVES Plaintiffs' Motion.
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             IT IS SO ORDERED.
16
             November 24, 2021
     Dated: _______________________             _______________________________________
17                                              The Hon. Andrew P. Gordon
                                                United States District Judge
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